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12   Facebook, Inc.

13                                 UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                         OAKLAND DIVISION

16    WHATSAPP INC., a Delaware corporation,
      and FACEBOOK, INC., a Delaware                 Case No. 4:19-cv-07123-PJH
17    corporation,
                                        )            PLAINTIFFS’ OPPOSITION TO
18                           Plaintiffs,)            DEFENDANTS’ MOTION FOR ENTRY
                                        )            OF PROTECTIVE ORDER
19           v.                         )
                                        )            Date:    September 9, 2020
20    NSO GROUP TECHNOLOGIES LIMITED )               Time:    9:00 a.m.
      and Q CYBER TECHNOLOGIES LIMITED, )            Ctrm:    3
21                                      )
                      Defendants.       )            Judge:   Hon. Phyllis J. Hamilton
22                                      )
                                        )
23                                      )            Action Filed: October 29, 2019
                                        )
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 1          On July 21, 2020, Plaintiffs WhatsApp Inc. and Facebook, Inc. (together, “Plaintiffs”)

 2   initiated discussions on a stipulated protective order and sent a draft to Defendants NSO Group

 3   Technologies Limited and Q Cyber Technologies Limited (together, “NSO”). Ten days later, in the

 4   middle of the Parties’ ongoing meet-and-confer efforts, NSO proposed a new and different draft

 5   protective order—as NSO acknowledges. 1 Because NSO’s proposed new draft departs materially

 6   from this District’s Model Protective Order for Litigation Involving Patents, Highly Sensitive

 7   Confidential Information and/or Trade Secrets (hereinafter, the “Model Order”), backtracks on

 8   numerous issues already resolved in the Parties’ negotiations, and threatens unfair prejudice

 9   (because it fails to address Plaintiffs’ needs), Plaintiffs declined to accept it and urged NSO instead

10   to proceed with the ongoing negotiations. NSO then abruptly moved the Court to enter its novel

11   and one-sided protective order, and to shorten time for Plaintiffs to respond to that motion. 2

12          On August 10, the Court denied NSO’s motion to shorten time. Dkt. No. 120. That order

13   explained that motions “pertaining to . . . protective orders are particularly amenable to resolution

14   by the parties themselves” and encouraged the parties to “continue to meet and confer.” Id. at 3.

15   Plaintiffs have continued negotiations on a stipulated protective order with NSO and the Parties are

16   close to presenting to the Court either an agreed order or a joint submission setting forth the

17   remaining disputes, of which there are very few as of recently exchanged drafts.

18          As detailed below, NSO’s motion for entry of a protective order should be denied because

19   (1) NSO failed to meet and confer as the Local Rules require; (2) NSO fails to establish good cause

20   for the relief it seeks; (3) the proposed protective order deviates from the Model Order in a manner

21   that would unfairly prejudice Plaintiffs; and (4) the Parties are very close to completing

22   negotiations on a comprehensive protective order.

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             See Declaration of Joseph N. Akrotirianakis in Support of Motions of Defendants NSO
26   Group Technologies Limited and Q Cyber Technologies Limited for a Protective Order and to
     Shorten Filing Deadlines, Dkt. No. 115-1 ¶¶ 4–8 (“Defs.’ Decl.”).
27          2
             See Defendants’ Motion for Entry of Protective Order, Dkt. No. 114 (“Mot.”); Defendants’
28   Motion to Shorten Deadlines for Motion for Entry of Protective Order, Dkt. No. 115.
                                                          1
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 1   I.      NSO FAILED TO MEET AND CONFER AS THE LOCAL RULES REQUIRE

 2           NSO was obliged under Local Rule 37-1 to meet and confer about its proposed protective

 3   order but failed to do so. This alone warrants denial of its motion. See Civ. L.R. 37-1(a) (requiring

 4   “counsel [to] have previously conferred for the purpose of attempting to resolve all disputed issues”

 5   before the Court “will [] entertain a request or a motion to resolve a . . . discovery dispute”);

 6   Bernstein v. Apollo Grp., Inc., 2014 WL 854834, at *6 (N.D. Cal. Feb. 28, 2014) (rejecting

 7   plaintiff’s discovery motion for failure to comply with Federal Rule 37 and Local Rule 37-1 and

 8   noting that it was “clear from both parties’ briefs that [plaintiff] failed to meet and confer with

 9   [defendants] prior to filing the motions”); Positive Techs., Inc. v. Sony Elecs., Inc., 2013 WL

10   431343, at *1 (N.D. Cal. Feb. 1, 2013) (denying motion for entry of a protective order where “the

11   parties ha[d] not sufficiently met and conferred regarding the dispute”). Far from having

12   “attempt[ed] to resolve all disputed issues” regarding NSO’s proposed protective order, Civ. L.R.

13   37-1(a), the Parties have not even discussed that version in any detail. See Declaration of Micah

14   Block ¶ 7 (“Block Decl.”).

15           As NSO acknowledges, the Parties began negotiating a protective order on July 21, when

16   Plaintiffs proposed a draft order. See Mot. at 2. Those discussions proceeded for only ten days

17   before NSO proposed a completely different protective order, which it sent to Plaintiffs on July 31.

18   See Defs.’ Decl. ¶¶ 4–6; Block Decl. ¶¶ 3–6. Plaintiffs declined to stipulate to NSO’s unilateral

19   new proposal during a meet-and-confer the next business day, and NSO filed its motions that

20   evening. Defs.’ Decl. ¶¶ 5–8. Even in that meet-and-confer, however, the Parties did not discuss

21   NSO’s new proposed protective order in any meaningful detail. See Block Decl. ¶ 7. NSO’s

22   failure to meet-and-confer before seeking the Court’s intervention dooms its motion.

23   II.     NSO FAILS TO ESTABLISH GOOD CAUSE FOR THE RELIEF IT SEEKS

24           NSO has not demonstrated good cause for the entry of its proposed protective order.

25   “Generally, the party seeking a protective order bears the burden of showing good cause for the

26   order to issue.” Acer Am. Corp. v. Tech. Props., 2009 WL 1363551, at *1 (N.D. Cal. May 14,

27   2009) (citing Fed. R. Civ. P. 26(c)). “Broad allegations of harm, unsubstantiated by specific

28   examples or articulated reasoning do not satisfy the Rule 26(c) test.” Ramirez v. Trans Union,
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 1   LLC, 2012 WL 8261626, at *1 (N.D. Cal. July 25, 2012) (quoting Beckman Indus., Inc. v. Int’l Ins.

 2   Co., 966 F.2d 470, 476 (9th Cir. 1992)).

 3            NSO’s motion for a protective order—like its motion to shorten time—relies on vague

 4   assertions regarding unspecified “information” that NSO says it “recently obtained,” and which

 5   NSO believes is “of great importance” to the “orderly management of the case.” Mot. at 1;

 6   Dkt. No. 115 at 1 (similar). And NSO has represented that it “cannot disclose this information

 7   without violating [its] legal obligations,” but it has failed to even identify those obligations. Mot.

 8   at 1. The Court already found that NSO’s “general[]” assertions failed to establish good cause for

 9   shortening time. See Dkt. No. 120 at 2. Similarly, its purported justifications provide no

10   meaningful explanation for why NSO’s proposed protective order should be entered, and certainly

11   do not satisfy NSO’s burden of “showing good cause” for its proposed protective order. See Acer,

12   2009 WL 1363551, at *1; Ramirez, 2012 WL 8261626, at *1.

13   III.     NSO’S PROPOSED PROTECTIVE ORDER IS PREJUDICIAL TO PLAINTIFFS

14            NSO’s proposed protective order also should not be entered because it is prejudicial to

15   Plaintiffs. Courts may consider prejudice to the non-moving party as a factor in determining

16   whether the moving party has demonstrated good cause for seeking a protective order. See Lindsey

17   v. Elsevier Inc., 2016 WL 8731471, at *1–2, 5 (S.D. Cal. Aug. 19, 2016) (finding that the defendant

18   did not establish good cause for inclusion of an attorneys’ eyes only (“AEO”) provision in a

19   protective order where, among other things, the plaintiff would be prejudiced by being barred from

20   reviewing defendant’s information); see also Newmark Realty Capital, Inc. v. BGC Partners, Inc.,

21   2017 WL 2591842, at *1 (N.D. Cal. June 15, 2017) (declining to enter the plaintiff’s proposed

22   departures from this District’s Model Order where “plaintiff failed to demonstrate good cause to

23   exclude all access by in-house counsel to AEO information”).

24            As a threshold matter, NSO describes its proposal as “interim” (Mot. at 3), but offers a draft

25   that is not limited to any particular production or documents and would govern until superseded.

26   See Dkt. No. 114-1 at § 1. Nothing in NSO’s proposed protective order would prohibit it from

27   refusing to negotiate a superseding order, thereby leaving its preferred form in place indefinitely.

28            In addition, NSO’s proposal diverges from this District’s Model Order, as NSO
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 1   acknowledges. See Defs.’ Decl. ¶¶ 3, 5–6. Although NSO represents that its proposal is “based

 2   on” the Model Order “except as noted with underscored text” (Mot. at 3), NSO fails to identify

 3   numerous provisions it omitted from the Model Order. See Block Decl. Ex. D. The result of its

 4   deviations from the model would prejudice Plaintiffs in numerous ways.

 5           For example, NSO’s proposal would prohibit disclosure of any designated material to any

 6   employee of WhatsApp or Facebook whatsoever, as well as to court reporters, experts, litigation

 7   vendors, employees of outside counsel, etc. Dkt. No. 114-1 at §§ 7.2, 7.3. And it would apply

 8   these restrictions even to material carrying the lower-tier “CONFIDENTIAL” designation, which

 9   may encompass anything that qualifies for protection under Rule 26(c). See id. at §§ 2.2, 7.2.

10   These sweeping restrictions threaten to undermine Plaintiffs’ and the Court’s ability to conduct the

11   litigation and should be rejected. In addition, among other deviations from the Model Order,

12   NSO’s proposal:

13          Removes language providing that the order does not cover information that is designated for

14           protection but is already in or becomes part of the public domain, which would have the

15           absurd consequence of purporting to create Court-ordered disclosure restrictions on public

16           information. See Block Decl. Ex. D at 3–4 (see Model Order § 3).

17          Strikes language prohibiting “mass, indiscriminate, or routinized designation” of protected

18           material, which threatens over-designation. See id. at 4–5 (see Model Order § 5.1).

19          Omits provisions governing situations where discovery calls for a party to produce a non-

20           party’s confidential information. See id. at 16–17 (see Model Order § 11). The Model

21           Order provides a procedure for the non-party to appear and seek protection if warranted,

22           whereas NSO’s proposal would dispense with that procedure and impose Court-ordered

23           disclosure restrictions without a process for testing such non-party claims.

24   NSO’s departures from the Model Order thus threaten unfair prejudice to Plaintiffs by restricting

25   use and/or disclosure of protected material in a manner that will likely interfere with Plaintiffs’

26   ability to conduct the litigation.

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 1   IV.     THE PARTIES ARE CLOSE TO REACHING AGREEMENT ON A STIPULATED
             PROTECTIVE ORDER
 2

 3           Finally, at Plaintiffs’ and the Court’s urging, the Parties have continued negotiations toward

 4   a stipulated protective order. See Block Decl. ¶¶ 9–14. At the time of writing, the Parties had not

 5   yet reached final agreement. Id. ¶ 12. However, the Parties have made continued progress on

 6   reaching agreement, and NSO has agreed that, with respect to a recent draft, the sides were “very

 7   close” to resolution. See id. ¶¶ 12–14. It therefore seems the Parties will very soon be in a position

 8   to submit either an agreed order or a joint submission setting forth the remaining disputes, of which

 9   there are very few as of recently exchanged drafts. See id. As explained in Plaintiffs’ opposition to

10   NSO’s motion to shorten, if any protective order were to be entered now, it should be the version

11   that at least reflects the Parties’ discussions to date (i.e., Exhibit G to the Block Declaration). See

12   Dkt. No. 118 at 5; Block Decl. ¶ 14. This is further reason to deny NSO’s motion.

13                                               CONCLUSION

14           For the foregoing reasons, NSO’s Motion for Entry of Protective Order should be denied.

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 1    Dated: August 17, 2020                         Respectfully Submitted,

 2
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